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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                     1/11/2021
 John Bates,

                         Plaintiff,
                                                                                   20-cv-6350 (AJN)
                 –v–
                                                                                        ORDER
 Union Hospitality Group, LLC, et al.,

                         Defendants.



ALISON J. NATHAN, District Judge:

         It having been reported to this Court that this case has been settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs to any party and

without prejudice to restoring the action to this Court’s calendar if the application to restore the

action is made within thirty days. To be clear, any application to reopen must be filed within

thirty days of this Order; any application to reopen filed thereafter may be denied solely on that

basis.

         All scheduled conferences are hereby adjourned. Within the thirty-day period provided

for in this Order, the parties may submit to the Court their own Stipulation of Dismissal for the

Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in Civil Cases, the

Court will not retain jurisdiction to enforce a settlement agreement unless the terms of the

agreement are made part of the public record.


         SO ORDERED.


Dated: January 11, 2021                              __________________________________
       New York, New York                                     ALISON J. NATHAN
                                                            United States District Judge
